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                                                     UNITED STATES DISTRICT COURT
                                                   FOR THE NORTHERN DISTRICT OF OHIO


                           KATHY MUMPOWER,                                      Case No.: 1:19-cv-02025-PAG
                                    Plaintiff,

                                           v.                                   ELECTRONICALLY FILED

                           CREDIT FIRST NATIONAL ASSOCIATION,
                                      Defendant.


                                          NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                                   Plaintiff, Kathy Mumpower (“Plaintiff”), and Defendant Credit First National

                           Association (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

                           (Dismissal of Actions- Voluntary Dismissal By Plaintiff) voluntarily dismisses the above

                           captioned matter with prejudice, each party to bear its own costs and fees.
 /s/ Patricia A. Gaughan




                           Dated: January 16, 2020                   Respectfully submitted,

                                                                      /s/ Adam T Hill
       1/17/20
So Ordered.




                                                                      Adam T. Hill
                                                                      The Law Office of Jeffrey Lohman, P.C. 4740
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                                                                      Tel. (657) 236-3525
                                                                      E: AdamH@jlohman.com
                                                                      COUNSEL FOR PLAINTIFF




                                                          CERTIFICATE OF SERVICE

                                   I hereby certify that on the 16th day of January 2020, I electronically filed the foregoing

                           Notice Of Voluntary Dismissal With Prejudice using the CM/ECF System, which will notify all

                           registered parties.
                                                                            /s/ Adam T Hill
                                                                            Adam T. Hill
